        Case 4:11-cr-40037-SOH                       Document 1806      Filed 08/01/17              Page 1 of 3 PageID #:
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations 6758
                       Sheet 1



                                   UNITED STATES DISTRICT COURT
                                                      Western District of Arkansas
        UNITED STATES OF AMERICA                                     Judgment in a Criminal Case
                   v.                                                (For Revocation of Probation or Supervised Release)

           CHANNING PENNINGTON
                    aka                                              Case No.          4:11CR40037-044
                “Blackberry”                                         USM No.           10705-010
                                                                                                Bruce D. Eddy
                                                                                              Defendant’s Attorney
THE DEFENDANT:
    admitted guilt to violation of condition(s)    listed below                       of the term of supervision.
    was found in violation of condition(s) count(s)                              after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                          Violation Ended
2                            Standard Condition No. 2 – Failed to report to the probation officer         05/19/2016

3                            Standard Condition No. 3 – Failed to answer truthfully                       05/23/2016

4                            Standard Condition No. 5 – Failed to maintain employment                     07/24/2016

5                            Standard Condition No. 6 – Failed to notify of address change                07/24/2016

       The defendant is sentenced as provided in pages 2 through        2        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has not violated condition(s)                         and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec.         1727                                          July 28, 2017
                                                                                         Date of Imposition of Judgment
Defendant’s Year of Birth:       1988
                                                                                             /s/ Susan O. Hickey
City and State of Defendant’s Residence:                                                       Signature of Judge
                  Texarkana, Arkansas
                                                                       Honorable Susan O. Hickey, United States District Judge
                                                                                             Name and Title of Judge


                                                                                              August 1, 2017
                                                                                                      Date
        Case 4:11-cr-40037-SOH                      Document 1806       Filed 08/01/17          Page 2 of 3 PageID #:
AO 245D (Rev. 11/16)   Judgment in a Criminal Case for Revocations 6759
                       Sheet 2— Imprisonment

                                                                                              Judgment — Page    2       of   2
DEFENDANT:                CHANNING PENNINGTON
CASE NUMBER:              4:11CR40037-044


                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
                  Eighteen (18) months imprisonment with credit for time served in federal custody since July 24, 2016; with no
term of :
                  term of supervision to follow the term of imprisonment




        The court makes the following recommendations to the Bureau of Prisons: FCI Texarkana for service of sentence




        The defendant is remanded to the custody of the United States Marshal.

        The defendant shall surrender to the United States Marshal for this district:
             at                                  a.m.         p.m.       on                                          .
             as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             before 2 p.m. on                                        .
             as notified by the United States Marshal.
             as notified by the Probation or Pretrial Services Office.

                                                              RETURN

I have executed this judgment as follows:




        Defendant delivered on                                                    to

at                                             with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL


                                                                     By
                                                                                        DEPUTY UNITED STATES MARSHAL
        Case 4:11-cr-40037-SOH                     Document 1806                   Filed 08/01/17   Page 3 of 3 PageID #:
AO 245D (Rev. 11/16)                                                     6760
                       Judgment in a Criminal Case Personal Identification Attachment


DEFENDANT:                   CHANNING PENNINGTON

CASE NUMBER:                 4:11CR40037-044

DISTRICT:                    Western District of Arkansas

                              Judgment in a Criminal Case Personal Identification Attachment
                                               (Not for Public Disclosure)

The following unredacted personal identifiers are included with the judgment transmitted to the Attorney General per 18 U.S.C. §
3612(b). A copy of this attachment shall also be provided to the attorney for the defendant, the Probation and Pretrial Services
Office, and the U.S. Sentencing Commission.

Pursuant to Rule 49.1 of the Federal Rules of Criminal Procedure, however, the personal data in this attachment are not for public
disclosure and must not be filed with the Clerk of the Court unless redacted or under seal, as provided in the rule.



  Defendant’s Soc. Sec. No.:                      XXX-XX-XXXX

  Defendant’s Date of Birth:                      06/24/1988

  Defendant’s Residential Address :               3302 Washington Street
                                                  Bldg 10, Apt 73
                                                  Texarkana, Arkansas 71854


  Defendant’s Mailing Address:
  (if different)
